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                                           UNITED STATES BANKRUPTCY COURT
                                          FOR THE NORTHERN DISTRICT OF TEXAS
                                                 FORT WORTH DIVISION


  IN RE:                                                             §                            CASE NO.          21-42215
  FLEXIBLE FUNDING, LTD. LIABILITY CO.                               §

  DEBTORS(S),                                                        §                             CHAPTER 11

                                          NOTICE OF APPEARANCE AND REQUEST
                                         FOR SERVICE OF NOTICES AND PLEADINGS

    PLEASE TAKE NOTICE that the undersigned hereby enters an appearance on behalf of:

    TARRANT COUNTY

 secured creditor(s) in the above-referenced proceedings. The undersigned hereby requests notice and copies of all motions notices,

 reports, briefs, applications, adversary proceedings, proposed orders, confirmed copies of orders, any proposed disclosure statement

 or plan of reorganization that has been filed with the court, any other documents or instruments filed in the above-referenced

 proceedings and any other matter in which notice is required pursuant to 11 U.S.C. Sec. 1109(b) and Bankruptcy Rules 2002(a) and

 (b), 3017(a), and 9013 of the Federal Rules of Bankruptcy Procedure.

    Copies should be mailed to the secured creditor(s) in care of the undersigned at the address set forth below.

                                                         Certificate of Service

I do hereby certify that on 20th day of September, 2021, a copy of the above and foregoing has been this date served electronically or

mailed to the parties listed below:

    LYNDA L. LANKFORD                            US TRUSTEE (DALLAS)
    FORSHEY & PROSTOK, LLP                       1100 COMMERCE STREET
    777 MAIN STREET, STE 1550                    ROOM 976
    FORT WORTH, TX 76102                         DALLAS, TX 75242

                                                        LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
                                                        2777 N. Stemmons Freeway
                                                        Suite 1000
                                                        DALLAS, TX 75207
                                                        Telephone: (214) 880-0089
                                                        Facsimile: (469) 221-5003
                                                        Email:      dallas.bankruptcy@lgbs.com


                                                         By: /s/ Laurie A. Spindler
                                                              Laurie A. Spindler
                                                              SBN: 24028720 TX
